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                           Exhibit A
10/6/24, 1:40 Case
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                                                                    Park · Apple Maps           Page 2 of 3 PageID #:
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    Apple Park
    Corporate Headquarters · Cupertino, California


                   Directions                                     Call                                     Website




                      Getty Images                                                                                        Getty Image



    About

      Apple Inc. is an American multinational technology company headquartered in Cupertino,
      California that designs, develops, and sells consumer electronics, computer software, and
      online services. The company's hardware products include the iPhone smartphone, the
      iPad tablet computer, the Mac personal computer, the iPod portable media player, the
      Apple smartwatch, and the Apple TV digital media player.                            More

      More on Wikipedia


    Good to Know

              Contactless Payments




    Also at This Location


      Entrance 4                     Entrance 3                 Glendenning                  The                         Entrance
                                                                Barn                         Observatory
      Entry                          Entry                      Apple Building               Apple Building              Entry



https://maps.apple.com/place?q=Apple Park&ll=37.334859%2C-122.0090403&auid=559098170073364042&lsp=9902&address=Apple Inc.%2C 1 App…     1/2
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                                                                    Park · Apple Maps             Page 3 of 3 PageID #:
                                                           646
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